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                                    UNITED STATES DISTRICT COURT

                                        DISTRICT OF OREGON

                                         PORTLAND DIVISION



PORTLAND COMMUNITY COLLEGE,                                 Case No.

                       Plaintiff,                           COMPLAINT FOR DECLARATORY
                                                            AND INJUNCTIVE RELIEF, PROMISSORY
           v.                                               ESTOPPEL, AND BREACH OF CONTRACT

UNITED STATES DEPARTMENT OF                                 JURY DEMAND REQUESTED
VETERANS AFFAIRS; DENIS
MCDONOUGH, in his official capacity as
Secretary of the United States Department
of Veterans Affairs; UNITED STATES
DEPARTMENT OF THE TREASURY;
JANET YELLEN, in her official capacity
as Secretary of the United States
Department of the Treasury; BUREAU OF
THE FISCAL SERVICE, UNITED
STATES DEPARTMENT OF THE


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TREASURY; and TIMOTHY GRIBBEN,
in his official capacity as Commissioner of
the Bureau of the Fiscal Service, United
States Department of the Treasury,

                        Defendants.


                                           INTRODUCTION

                   1.      Plaintiff Portland Community College (“PCC”), is a not-for-profit

community college that has served the citizens of Oregon for over 60 years. PCC prides itself on

its students’ success, quality education, and diversity, equity, and inclusion.

                   2.      As part of its mission, many of PCC’s students are veterans utilizing their

hard-earned educational benefits pursuant to the Post-9/11 Veterans Educational Assistance Act

of 2008, 38 U.S.C. § 3301, et seq., (the “Post-9/11 G.I. Bill”).

                   3.      Defendant United States Department of Veterans Affairs (the “VA”) is

responsible for overseeing the Post-9/11 G.I. Bill program. However, the VA contracts and

delegates its authority to State Approving Agencies (“SAAs”) to review, approve, and monitor

educational programs. See 38 U.S.C. § 3671. In Oregon, the VA contracted with the Higher

Education Coordinating Commission as the SAA (“Oregon’s SAA”) until October 1, 2018, when

the VA terminated its contract with Oregon’s SAA.

                   4.      Many veterans looked to PCC’s flight training program to turn their

military experience into well-paid careers. Indeed, PCC’s Aviation Science program has a high

placement rate in introductory jobs as flight instructors, with strong potential for advancement to

commercial airline pilot within a few years of completing the program. These aviation programs

provide a much-needed pipeline of new airplane and helicopter pilots at a time when the aviation




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industry “faces chronic pilot shortages in the U.S. and around the world,” and such programs are

especially popular with veteran students, many of whom have beneficial relevant military

experience.1

                   5.    In 2015, Congress started raising concerns about the VA’s lack of

oversight of the Post-9/11 G.I. Bill benefits for flight programs—namely that the flight schools

were costing the federal government too much. In response, in 2015, S. Rep. Brad Wenstrup,

R-Ohio, introduced H.R. 476 (114th Congress (2015-2016)) to cap and limit flight benefits, as

well as expand the VA’s right to audit through “compliance surveys.” 2 However, H.R. 476,

which was amended into H.R. 4149 (115th Congress (2017 – 2018)), did not pass after receiving

considerable criticism that such a cap would unfairly impact the ability of veterans to pursue

pilot jobs. Specifically, the limit would be tantamount to preventing veterans from entering flight

programs.

                   6.    Regardless of the failure of any legislation to limit the Post-9/11 G.I. Bill

for flight programs, the VA had already devised a scheme to limit veterans’ benefits, and in

2017, the VA purposefully targeted aviation flight schools in Oregon as a cost-saving measure in

an attempt to recoup Post-9/11 G.I. Bill payments.

                   7.    Specifically, the VA directed its Muskogee Regional Office

(“Muskogee RO”) to conduct unauthorized “compliance surveys” (i.e., audits) of the flight




1
 See Garcia, Marisa, Advocates Worry that Changes to GI Bill Will Make Pilot Crisis Worse,
Forbes (Aug. 2, 2018, 8:18 AM),
https://www.forbes.com/sites/marisagarcia/2018/08/02/advocates-worry-that-changes-to-gi-bill-
will-make-pilot-crisis-worse/#39866376d524.
2
    https://www.congress.gov/bill/114th-congress/house-bill/476/text


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programs at Oregon community colleges, including PCC, Lane Community College, Central

Oregon Community College,3 and Klamath Community College (collectively, the “Oregon

Community Colleges”).

                   8.    Even before the compliance surveys were conducted, the VA had already

determined that it was going to hit each of the Oregon Community Colleges with an alleged

overpayment of Post-9/11 G.I. Bill payments related to the flight programs.

                   9.    In fact, the VA accused all of the Oregon Community Colleges of being

overpaid Post-9/11 G.I. Bill payments benefits for their flight schools. Although the VA had

already approved the flight schools, it decided, years later, that it should not have approved them,

and claims it should get the paid benefits back. For PCC, the alleged overpayment amount is

approximately $6 million.

                   10.   The VA boasts that its mission is to fulfill President Lincoln’s Promise:

“To care for him who shall have borne the battle, and for his widow, and his orphan” by serving

and honoring the men and woman who are America’s veterans. 4 The VA’s attack on the Oregon

Community Colleges is an attack on the veteran students. In the end, the veterans suffer, and the

VA should be held accountable for its appalling conduct.




3
 Central Oregon Community College (“COCC”) filed suit against the VA on April 10, 2020 (the
“COCC Complaint”). Central Oregon Community College v. U.S. Dept. of VA, et al.,
Case No. 6:20-cv-00594-MK, (D. Oregon, April 10, 2020). The suit alleges that the VA failed to
provide COCC with due process rights for the alleged overpayments to COCC.
4
    See https://www.va.gov/ABOUT_VA/index.asp (last visited November 15, 2021).


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                   11.   This suit arises out of the VA’s wrongful claim that it overpaid PCC

approximately $6 million in Post-9/11 G.I. Bill benefits, and the wrongful offset of over $1.8

million from PCC.

                                  JURISDICTION AND VENUE

                   12.   Pursuant to 28 U.S.C. § 1331, this Court has jurisdiction over PCC’s

claims arising under the Administrative Procedure Act (“APA”), 5 U.S.C. §§ 701-706, and the

Fifth Amendment to the United States Constitution.

                   13.   This Court is authorized to grant the relief requested in this case pursuant

to the APA, 5 U.S.C. § 706; the Declaratory Judgment Act, 28 U.S.C. §§ 2201-2202; and the

Mandamus Act, 28 U.S.C. § 1361.

                   14.   Venue is proper in this judicial district because PCC resides in this district

and because a substantial part of the acts or omissions giving rise to the claims occurred and

continues to occur in this judicial district. 28 U.S.C. §§ 1391(b)(2), 1391(e)(1).

                                                PARTIES

                   15.   Plaintiff PCC. Plaintiff PCC is a public community college, duly

organized and established under the provisions of ORS Chapter 341, with its primary campus

located in Portland, Oregon. It is the largest community college in the state of Oregon and serves

1.9 million residents mostly in the five-county area of Multnomah, Washington, Yamhill,

Clackamas, and Columbia counties. PCC offers programs that include aviation instruction for

airplane and helicopter pilots, many of whom are United States military veterans.




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                   16.   Defendant VA. Defendant VA is a federal agency that provides a wide

range of services to eligible military veterans and their families, and is an agency within the

meaning of 5 U.S.C. § 551(1).

                   17.   Defendant Denis McDonough. Defendant Denis McDonough is Secretary

of the VA and is sued in his official capacity.

                   18.   Defendant United States Department of the Treasury. Defendant United

States Department of the Treasury (the “Treasury”) is a federal agency that is responsible for

managing government accounts and the public debt and is an agency within the meaning of

5 U.S.C. § 551(1).

                   19.   Defendant Janet Yellen. Defendant Janet Yellen is Secretary of the

Treasury and is sued in her official capacity.

                   20.   Defendant Bureau of Fiscal Service. Defendant Bureau of Fiscal Service

(the “Fiscal Service”) is an institutional component of the Treasury that manages a debt

collection program known as the Treasury Offset Program (“TOP”). 5 TOP is a centralized

program that offsets federal payments to collect delinquent non-tax debts owed to federal

agencies unless exempted by federal statute or other authority. See 31 U.S.C. § 3716.

                   21.   Defendant Timothy Gribben. Defendant Timothy Gribben is the

Commissioner of Defendant Fiscal Service and is sued in his official capacity.




5
 Treasury Offset Program, Bureau of the Fiscal Service, https://fiscal.treasmy.gov/top/ (last
visited Nov. 6, 2021).


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                                     FACTUAL ALLEGATIONS

                         The Post-9/11 G.I. Bill is for the Benefit of Veterans

                   22.    Starting in 1944, Congress passed the first in a series of statutes to fund

educational assistance programs that allow veterans and their families to enroll in qualifying

educational programs. The Post-9/11 G.I. Bill was signed into law in June 2008 and became

effective on August 1, 2009. See Pub. L. No. 110-252, tit. V, §§ 5001-03, 122 Stat. 2357 (2008)

(codified at 38 U.S.C. §§ 3301 et seq.). It provides education benefits to certain veterans who

served in active military duty after September 11, 2001, or their dependents.

See 38 U.S.C. § 3311(a), (b). Individuals who meet the eligibility requirements are entitled to up

to 36 months of education benefits. See 38 U.S.C. § 3312(a).

                   23.    Such education benefits include enrollment in an approved aviation degree

program, and funding options vary depending on the type of coursework and educational

institution. When a veteran is enrolled in a degree program at a public institution of higher

learning, like PCC, the Post-9/11 G.I. Bill provides tuition funding plus a monthly housing

allowance and stipend for books and supplies.

                   Oregon’s SAA and VA’s Approval of PCC’s Aviation Programs

                   24.    The VA’s oversight of funding provided under the Post-9/11 G.I. Bill is

governed by statute, regulations promulgated by the VA Secretary, and inconsistently by internal

VA manuals, including a manual for education benefits provided to the VA’s regional offices

(the “M22-4 Manual”).

                   25.    In order for veteran students to use Post-9/11 G.I. Bill benefits to pay for a

particular course of education, that course must be approved by the appropriate SAA.




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See 38 U.S.C. § 3672. In Oregon, the SAA was Oregon’s SAA, and PCC worked closely with

Oregon’s SAA for approval and guidance related to the approval of its aviation flight programs

and for clarification of the Post-9/11 G.I. Bill benefits.

                   26.   At all times relevant, the Oregon SAA approved PCC’s aviation flight

programs, including the following AAS Degrees (the “PCC Aviation Programs”): (1) Aviation

Science: Airplane with Flight Instructor; (2) Aviation Science: Airplane without Flight

Instructor; and (3) Aviation Science: Helicopter.

                   27.   In fact, PCC received notice of approval for the PCC Aviation Programs

from both Oregon’s SAA and the VA for each year leading up to the VA’s targeting of the

Oregon Community Colleges in 2017. The VA documents these approvals on what it refers to as

a “WEAMS 1998 Report.” Attached as Exhibit 1 are copies of the relevant portions of WEAMS

1998 Reports informing PCC that the PCC Aviation Programs were approved for the 2014 to

2016 academic years.

                                 The Annual Compliance Surveys

                   28.   The VA and SAAs monitor schools and their approved courses for

compliance with all applicable provisions of the laws administered by the VA through “Annual

Compliance Surveys.” 38 U.S.C. § 3693. See also M22-4 Manual, Part 10, Section 1.01(a)(b).

                   29.   The M22-4 Manual provides that an Annual Compliance Survey’s period

should begin effective the last period that had been surveyed—meaning that if the VA or SAA

already conducted an Annual Compliance Survey for Spring 2016, then the VA’s new survey

period would begin the next term in 2016. See M22-4 Manual, Part 10, Section 3.01.




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                   30.   Moreover, when conducting the Annual Compliance Surveys, the

provisions of laws and regulations cannot be applied for any period before their effective date.

Id. at Part 10, Section 3.01.

                   31.   When an Annual Compliance Survey reveals reporting or approval errors

implying that a substantial pattern of overpayments may exist, the survey sample will be

systematically expanded. Id. at Part 10, Section 5.01. In certain cases, the VA may decide to

expand the survey to a 100 percent review of all records from the prior three years (“100 Percent

Audit”). Id.

                   32.   From 2012 to 2016, the PCC’s Annual Compliance Surveys did not

indicate any material discrepancies in the PCC Aviation Programs or the existence of any alleged

overpayments of Post-9/11 G.I. Bill benefits.

                   33.   On April 13, 2017, one month before the Trump Administration’s

announcement of proposed budget cuts to aviation training programs for veterans, an Education

Compliance Survey Specialist (“CSS”) from the VA’s Muskogee office notified PCC that she

was taking over the school’s ongoing Annual Compliance Survey. In addition, she inexplicably

requested documents dating back to 2013—a time period unquestionably already subjected to an

Annual Compliance Survey—and stated that the 2017 survey would be a continuance of the

annual compliance survey conducted in June 2016.

                   34.   The VA conducted the Annual Compliance Survey at PCC on

April 18, 2017 (the “April 2017 Compliance Survey”). Within two days, on April 20, 2017, the

VA sent a letter to Oregon’s SAA to suspend the PCC Aviation Programs.




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                   35.   By April 27, 2017, the CSS informed PCC that the VA had identified

certain compliance issues and were suspending approval of PCC’s Aviation Programs. The CSS

asked PCC to make certain changes and supply the VA with additional documents to ensure

compliance, which PCC promptly performed and provided. Following PCC’s submissions, the

VA removed the suspension.

                   36.   In May 2017, the White House released its proposed budget for fiscal year

2018, which sought to impose various cost-saving proposals at the VA (even while increasing

the VA’s overall funding).6 One such cost-cutting proposal targeted aviation training programs

under the Post-9/11 G.I. Bill, which the Trump Administration predicted would save a total of

$42 million annually.7 However, the Trump Administration could not secure Congressional

support to cut aviation-training programs, and that element of its proposed 2018 budget was not

included in the final budget that Congress ultimately passed in October 2017. 8 The Trump

Administration continued to press Congress for similar cuts to aviation training programs for

veterans without success.9




6
  Shane, Leo, Trump’s big VA budget request comes with proposed trims to veterans benefits,
Rebootcamp.MilitaryTimes.com (May 23, 2017),
https://:rebootcamp.militarytimes.com/news/pentagon-congress/2017/05/23/trump-s-big-vabudge
t-reguest-comes-witb-proposed-trims-to-veterans-benefits/.
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    Id.
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https://www.politico.com/storv/2017/10/19/senate-budget-tax-overhaul-vote-a-rama-243963.
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Stripes (Mar. 11, 2019),
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                   37.   In June 2017, PCC received notification from the VA that it was

expanding its compliance survey to a 100 Percent Audit.

                   38.   In July 2017, the VA informed PCC that although the SAA removed the

suspension of admitting new-veteran students to PCC’s Aviation Programs, the VA disagreed

with the SAA, and informed PCC that the program was still suspended.

                            The April 2017 Compliance Survey Results

                   39.   On January 18, 2018, eight months after the April 2017 Compliance

Survey, the VA sent a letter to PCC citing eleven categories of “errors,” but did not identify any

veteran students in the letter—making it impossible to decipher the VA’s allegations.

                   40.   Then, on March 28, 2018, the VA issued PCC an additional report to

“provide more specific information concerning the individual discrepancies listed in [the VA’s]

findings letter of January 18, 2018” (the “March 2018 Report”). Contrary to VA regulations and

the M22-4 Manual, the VA’s Finance Officer did not proceed to compute PCC’s potential

liability or notify the school of its rights under the School Liability Process.

See 38 C.F.R. § 21.4009; M22-4 Manual, Part 1, Section 7.03. Further, the VA did not inform

PCC that any committee on school liability had been formed, nor was PCC given an opportunity

to challenge the qualifications of the proposed panel members, to attend a prehearing conference

and hearing, or to receive a panel decision with notice. See 38 C.F.R. § 21.4009; M22-4 Manual,

Part 1, Section 7.03.

                   41.   As alleged below, the VA’s findings in the March 2018 Report lack

adequate explanation, are not supported by evidence, and are internally inconsistent. For

example, the March 2018 Report alleged that the PCC Aviation Programs were not approved. As




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stated above, the Oregon SAA and the VA approved the PCC Aviation Programs, and enrollment

certifications were provided by PCC based on the guidance and specific instructions of the SAA

and Kate Nicholson, the Oregon Education Liaison Representative from the VA.

                   42.   In other words, the VA is claiming that, although it approved the PCC

Aviation Program from 2014 to April 2017, the VA wants to retroactively claim that the veterans

were not entitled to Post-9/11 G.I. Bill benefits during those time periods. The practical effect of

the VA’s positon is that it would require PCC to repay the tuition and fees of a veteran student

who already graduated from the PCC Aviation Program. It is unclear whether the VA is also

trying to recoup these same Post-9/11 G.I. Bill benefits from the veteran students personally.

                   43.   PCC has repeatedly tried to explain these issues to the VA through a series

of letters, phone calls, in-person meetings, and additional documentation dating back to 2018,

but the VA has refused to engage or allow PCC to challenge these findings.

          The VA’s Alleged Tuition/Fees Overpayment of Post-9/11 G.I. Bill to PCC

                   44.   Starting in May 2018, PCC started to receive multiple letters from the

VA’s Muskogee RO that there was a tuition overpayment of Post-9/11 G.I. Bill benefits (the

“Muskogee Letters”). Almost all of the Muskogee Letters provided an inapplicable reason for the

overpayment:




For reference, the term “1999” refers to a form that PCC used to alert the VA that a student’s

enrollment had changed. However, in almost all cases, PCC never actually submitted a 1999 for

the student in question. As such, this supposed “reason” for the debt could not actually apply.



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                   45.      None of the Muskogee Letters indicated if the alleged overpayment was

connected to the 2017 Compliance Survey.

                   46.      Within a month after the Muskogee Letters, the Debt Management Center

of the VA (the “DMC”) then sent multiple letters to PCC (the “DMC Letters”) stating:




Again, the VA failed to give any specific reason for the alleged overpayment in the DMC

Letters.

                   47.      Astonishingly, the DMC Letters were actually form letters that the DMC

would normally send to students/veterans, as opposed to institutions of higher learning (“IHL”),

like PCC. The DMC’s incorrect use of a student form letter resulted in the VA’s improper notice

and failure to properly inform PCC of its rights to dispute the alleged overpayment, and added to

the confusion as to how the alleged overpayments were calculated.

                   48.      In total, the VA claims that it overpaid PCC approximately $6 million in

undue tuition and fees of Post-9/11 G.I. Bill benefits (the “Alleged Tuition/Fees Debt”).

                   49.      In sum, the VA arbitrarily and incorrectly claimed that PCC’s actions

caused the VA to overpay on behalf of PCC’s student-veterans for flight training education.

                         The VA’s Refusal to Follow the School Liability Process

                   50.      When collecting debts related to overpayment of GI Bill benefits, the VA

must follow certain laws and procedures (the “School Liability Process”). See 38 U.S.C. § 3685;

38 C.F.R. § 21.9695.




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                   51.    The VA cannot hold PCC liable for the Alleged Tuition/Fees Debt unless

the VA follows the administrative process under the School Liability Process, and there is a

finding of willful or negligent conduct of PCC. This did not occur.

                   52.    In particular, when attempting to recoup debts from an IHL—such as

PCC—stemming from alleged willful or negligent false certification by the IHL or failure to

certify excessive absences, discontinuance, or interruption of a course, the VA and DMC must, at

least, follow the procedures outlined below:

        (a)        Upon deciding evidence exists to warrant a finding of debt liability, send a Notice

of Intent of Potential School Liability (“Notice of School Liability”) to the IHL detailing each of

the school’s actions and/or omissions which resulted in a finding of potential debt liability;

        (b)        Provide the IHL with a hearing before a panel drawn from the Committee on

School Liability (the “Committee”) before a decision is made as to whether the IHL is liable for

the debt; and

        (c)        Allow the IHL the ability to appeal an adverse Committee decision to the Central

Office School Liability Appeals Board. See 38 C.F.R. § 21.9695(b)(3)(iii); 38 C.F.R. § 21.4009.

                   53.    The VA failed to follow these procedures. In particular, the VA failed to

send PCC a Notice of School Liability. Instead, the VA elected to send PCC hundreds of

individual letters, each of which already assumed liability on the part of PCC for overpayments

associated with individual students. These letters did not include specific reasoning for the

Alleged Tuition/Fees Debt. As a result, PCC has never had clarity as to VA’s reasoning or

rationale for why it is being held liable for the Alleged Tuition/Fees Debt.




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                   54.   The VA’s behavior in this regard is completely contradictory to the rules

and procedures outlined above. Based solely on these facts, the Alleged Tuition/Fees Debt is

invalid.

                   55.   Moreover, the VA has not followed its internal process that is required

when potential overpayments are identified. Under VA regulations, if a 100 Percent Audit “has

been performed because of errors found in the initial sample of records, the results will always

be referred to the [Education Officer 10 of the VA’s Committee on School Liability] for a

determination of potential liability.11 Id. at Part 1, Section 7.04 (emphasis added). See also id. at

Part 10, Section 6.05 (“If a 100 percent audit has been performed, referral is required.”).

Pursuant to the agency’s regulations, the Secretary of Veterans Affairs has “delegate[d] to each

Committee on School Liability, and to any panel that the chairperson of the Committee may

designate and draw from the Committee, the authority to find whether an educational institution

is liable for an overpayment.” 38 C.F.R. § 2I.4009(c)(2).

                   56.   After an Annual Compliance Survey is referred to the Committee on

School Liability, both VA regulations and the M22-4 Manual require the following internal

review procedures:

                   A.    Initial Decision: The Education Officer decides whether there is evidence

that would warrant a finding that a school is potentially liable for an overpayment.




10
  The relevant regulations and the M22-4 Manual alternatively refer to this official as the
“Education Officer” or the “Adjudication Officer.” In this Complaint, we will use the phrase
“Education Officer.”
11
  Each VA Regional Processing Office is required to establish a Committee on School Liability.
See 38 C.F.R. § 21.4009(c)(1).


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                   B.   Notice to School: Following each finding of potential liability, the

Finance Officer will compute the potential liability and notify the school in writing of the

amount and of its rights under the school liability procedures.

                   C.   Hearings: A school is entitled to a prehearing conference (unless waived)

and a hearing before a panel drawn from the Committee on School Liability before a decision is

made as to whether it is liable for an overpayment. The Committee on School Liability will

consider all evidence and testimony presented at the hearing.” 12

                   D.   Role of District Counsel: The District Counsel will present the VA’s case

at the hearing and will be present at any prehearing conference. If no hearing is requested, the

District Counsel will present the VA’s case directly to the panel drawn from the Committee on

School Liability.

                   E.   Committee Panel Decision and Notice to School: The Committee Panel

will make its decision based on the evidence of record and then notify the school in writing of

the Committee’s decision. If the educational institution is found liable for an overpayment, it also

will be notified of the right to appeal the decision to the School Liability Appeals Board within

60 days from the date of the letter.

                   F.   Appellate Procedures: A school may appeal an adverse decision to the

School Liability Appeals Board in Washington, DC. The Appeals Board may affirm, modify, or

reverse a decision of the Committee on School Liability or may remand an appeal for further

consideration by the appropriate Committee on School Liability.


12
  The M22-4 Manual also specifies that the panel is to be made up of three persons, and that the
school “may challenge the qualifications of proposed panel members.” M22-4 Manual, Part 1,
Chapter 7 School Liability, § 7.03.


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                   G.    Finality of Decisions: The VA’s regulations note that “[t]here is no right

of additional administrative appeal of a decision of the School Liability Appeals Board.”

See 38 C.F.R. § 21.4009. See also M22-4 Manual, Part 1, Chapter 7 School Liability.

                   57.   PCC has requested multiple times that it be afforded the School Liability

Process for the Alleged Tuition/Fees Debt. Instead, the VA has taken the position that the

Alleged Tuition/Fees Debt is not subject to the School Liability Process and that it can internally

decide, without review, that PCC owes more than $6 million.

                                The Second Alleged Debt by the VA

                   58.   Separate from the Alleged Tuition/Fees Debt, the VA has continued its

pattern of arbitrary, capricious, and unconstitutional action with regard to the related housing and

book allowances.

                   59.   On February 25, 2019, the VA issued a “Notice of Intent of Referral” to

PCC, which alleges an additional overpayment of $473,684.10, and which seeks reimbursement

for funds paid directly to PCC students for housing and books (the “Second Alleged Debt”).

                   60.   For unknown reasons, the VA acknowledges that the School Liability

Process actually applies to the Second Alleged Debt, but still takes the position that the School

Liability Process does not apply to the Alleged Tuition/Fees Debt.

                           The VA’s Arbitrary and Capricious Conduct

                   61.   Regardless, the VA’s arbitrary determination that it overpaid PCC is laden

with factual mistakes, and the so-called process the VA followed is riddled with procedural

errors. PCC has responded to the VA, specifically identified the errors in the VA’s findings, and

repeatedly requested that the VA follow the administrative review process—the School Liability




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Process—that was created by the VA specifically to address disputes between educational

institutions and the VA.

                   62.   Nevertheless, the VA has steadfastly refused to follow this required

review process, and instead, has continued to issue erroneous, inconsistent, and contradictory

debt notices. The clear factual mistakes that the VA has made could have and should have been

resolved easily through appropriate administrative review. Instead, the VA either ignored or

postponed PCC’s requests to engage in a review process.

      The VA’s Broken Promise to Stop the Collection of the Alleged Tuition/Fees Debt

                   63.   In 2018, PCC responded and lodged individual disputes to each of the

DMC Letters, all denying the alleged debt. Specifically, PCC disputed the alleged debts,

requested immediate termination of the collection of the alleged debts, and requested records

associated with each alleged debt, a pre-hearing conference, and a hearing. A meeting was later

held between representatives of PCC and the VA on November 7, 2018, to discuss

approximately eight students within the March 2018 Report.

                   64.   On December 21, 2018, PCC sent the VA and DMC a follow up letter to

continue to dispute the alleged debts and provide additional documentation related to the

categories of alleged violations. The letter outlined: (1) the VA’s failure to notify PCC of the

specific reasons for the alleged debts; (2) the VA’s failure to follow its own laws and procedures

under 38 U.S.C. § 3685 and 38 C.F.R. § 21.9695; (3) PCC’s dispute of the April 2017

Compliance Survey and March 2018 Report; (4) PCC’s compliance with guidance and specific

instructions provided by the SAA, to whom the VA had delegated authority; and (5) PCC’s

specific responses to the alleged noncompliance categories in the Compliance Survey.




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                   65.   PCC never received a response to their letter dated December 21, 2018.

                   66.   From December 21, 2018, to December 2020, PCC provided additional

information to the VA and continued to dispute all of the alleged debt.

                   67.   On January 19, 2021, in response to PCC’s repeated disputes related to the

alleged debt, the VA’s Chief of Operations of the VA’s Debt Management Center issued a letter

to PCC stating: “After receiving guidance from the VA Office of General Counsel and VA

Education Service, DMC suspended all collection action on debts owed by Portland Community

College due to the compliance survey. Collection action will remain suspended until further

guidance is received.” A true and correct copy of this letter (the “Suspended Alleged Debt”) is

attached as Exhibit 2.

                   68.   Since then, the VA has not provided PCC with any notice that the

Suspended Alleged Debt was going to be activated again.

                   69.   At some point after the VA’s letter dated January 19, 2021, the VA broke

its agreement with PCC and transferred the alleged debt to the Treasury for collection. PCC

received no letters or notice that the Suspended Alleged Debt was transferred to the Treasury.

                   70.   On October 25, 2021, PCC learned that the Treasury had offset over $1.8

million from funds to PCC from the American Rescue Plan Act of 2021 (the “American Rescue

Plan”). The American Rescue Plan is a COVID-19 relief fund that goes directly to colleges and

universities to support the overwhelming costs that institutions and students face in dealing with

the COVID-19 pandemic. Institutions like PCC that receive American Rescue Plan funds are

required to spend at least half of their allocations on emergency financial aid grants to students. 13


13
     American Rescue Plan of 2021: Simulated Distribution of Higher Education Emergency Relief


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                   71.   PCC later received confirmation that the offset was related to the alleged

debt to the VA. PCC immediately contacted the VA’s Office of General Counsel seeking an

explanation for why the VA had breached its agreement to suspend collection of the alleged debt

and why the VA had failed to respond to PCC’s requests that the alleged debt be subject to the

School Liability Process.

                   72.   Despite PCC’s numerous phone calls and emails to the VA, it has not

received any: (a) explanation from the VA for why the debt was transferred to the Treasury; (b)

assurance that the offsets would cease; (c) agreement to return the $1.8 million that was offset

from PCC’s grant; and (d) decision on whether the VA would begin following the procedures

outlined for the School Liability Process.

                   73.   PCC engaged the VA further via emails and phone calls asking for some

process to challenge the VA’s mistaken findings, improper transfer of the alleged debt, and

improper offset of over $1.8 million that PCC is entitled to receive. As of the date of this filing,

the VA has not provided any substantive response or decision to PCC.

                   74.   PCC brings this action to protect itself from the VA’s arbitrary and

capricious debt notices and corresponding collection efforts, and the Treasury’s improper

offsetting of PCC’s federal funds.

                   75.   The VA is required to notify the Treasury “immediately of any change in

the status of the legal enforceability of the debt.” 31 C.F.R. § 285.12(i). On information and




Funds, American Council on Education,
https://www.acenet.edu/Policy-Advocacy/Pages/HEA-ED/ARP-Higher-Education-Relief-Fund.a
spx (last visited Nov. 9, 2021).


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belief, the VA has not notified the Treasury that the alleged debt is legally enforceable, and the

VA has taken no steps to stop the Treasury from offsetting or collecting the alleged debt.

                   76.   Moreover, the VA’s transfer of the alleged debt to the Treasury violated

31 C.F.R. § 285.12(i), which provides “[b]efore a debt may be transferred to Fiscal Service or

another debt collection center, the [VA] must certify, in writing, that the debts being transferred

are valid, legally enforceable, and that there are no legal bars to collection.” As part of that

certification, the VA must certify that it has “complied with all prerequisites to a particular

collection action under the laws, regulations or policies applicable to the agency unless

the creditor agency has requested, and Fiscal Service has agreed, to do so on the [VA’s] behalf.”

                   77.   Further, 31 C.F.R. § 285.12(c)(2) provides that “[w]here * * * a debt is the

subject of a pending administrative review process required by statute or regulation and

collection action during the review process is prohibited, the debt is not considered legally

enforceable for purposes of mandatory transfer to Fiscal Service and is not to be transferred.”

Because the VA had not complied with the prerequisite School Liability Process and the alleged

debts were subject to administrative review, the VA could not have certified that PCC’s alleged

debts were “legally enforceable.”

                   78.   By PCC initiating this action, the VA and Treasury are also now subject to

31 U.S.C. § 3711 and 38 C.F.R. § 1.910, pursuant to which the VA may not refer any of PCC’s

alleged debts to the Treasury, and the Treasury must cease any collection or offset efforts

because the alleged debt is “in litigation.” Should the VA or Treasury fail to comply with

31 U.S.C. § 3711 and 38 C.F.R. § 1.910, PCC reserves its right to amend this Complaint to

include violations of 31 U.S.C. § 3711 and 38 C.F.R. § 1.910.




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                   79.   The VA’s and the Treasury’s actions leave PCC with no option but to seek

judicial intervention under the APA. PCC seeks: (1) an order requiring the VA to provide PCC

with its due process rights under the School Liability Process with respect to all alleged

overpayments—for tuition as well as housing and book allowances—and enjoining Defendants,

and their successors and agents, from taking action to collect the alleged approximately

$6 million (or any amount) in overpayments until the VA has met its due process obligations to

PCC; (2) a declaration that the VA’s conclusion that PCC owes approximately $6 million (or any

amount) in overpayments related to its aviation programs is arbitrary, capricious, and in violation

of PCC’s right to due process of law; and (3) the return of the over $1.8 million that the Treasury

has improperly offset from grants to PCC.

                                  FIRST CLAIM FOR RELIEF

   Administrative Procedure Act - Arbitrary and Capricious re School Liability Process

                             (Against the VA and Denis McDonough)

                   80.   PCC incorporates the above paragraphs.

                   81.   The APA, 5 U.S.C. § 706, authorizes this Court to set aside and hold

unlawful agency action that is arbitrary and capricious, including when an agency adopts a

course of action that is contrary to its own regulations.

                   82.   The VA’s conclusion that PCC owes approximately $6 million (or any

amount) in overpayments related to its aviation programs was reached in contravention of its

own regulations.

                   83.   In administering the G.I. Bills and assessing and collecting overpayments

under 38 U.S.C. § 3685, the VA is bound by its own regulations at 38 C.F.R. § 21.4009.




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                   84.   Pursuant to 38 C.F.R. § 21.4009, the VA may not hold a school liable for a

supposed overpayment before the case is referred to the VA’s Committee on School Liability. Id.

The Secretary of Veterans Affairs has “delegate[d] to each Committee on School Liability, and

to any panel that the chairperson of the Committee may designate and draw from the Committee,

the authority to find whether an educational institution is liable for an overpayment.” Id.

                   85.   The School Liability Process is designed to identify and reverse the kinds

of blatant mistakes found in the VA’s “findings” letters so that institutions like PCC are provided

due process of law before their alleged overpayment debt is assessed and transferred to the

Treasury for collection. That process is supposed to include a number of procedural steps.

                   86.   First, the Education Officer will “decide whether there is evidence that

would warrant a finding that an educational institution is potentially liable for an overpayment.”

38 C.F.R. § 21.4009. Second, after any finding of potential liability, the Finance Officer will

compute the potential liability and notify the school in writing of the amount and of its rights

under the school liability procedures. Id. Third, the school is then entitled to a prehearing

conference (unless waived) and a hearing before a panel drawn from the Committee on School

Liability before a decision is made on liability for an overpayment. Id. Fourth, the Committee

Panel will make its decision based on the evidence of record, and notify the school of its decision

in writing; if found liable for an overpayment, the school will also be notified of its right to

appeal the decision to the School Liability Appeals Board within 60 days. Id. Fifth, the school

has the right to appeal any adverse finding of overpayment liability to the School Liability

Appeals Board, which may “affirm, modify or reverse a decision of the Committee on School




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Liability or may remand an appeal for further consideration by the appropriate Committee on

School Liability.” Id.

                   87.   Here, for the Alleged Tuition/Fees Debt, the VA denied PCC each and

every one of these procedural rights.

                   88.   After PCC repeatedly informed the VA that it was entitled to protest under

the School Liability Process, the VA refused to implement that process for the Alleged

Tuition/Fees Debt. However, the VA did acknowledge correctly that the School Liability Process

applied to the alleged housing and book overpayments. This inconsistency demonstrates that the

VA knows and understands that it should have implemented the School Liability Process with

regard to all of the alleged overpayments.

                   89.   Accordingly, all of the VA’s findings resulting from that process are

arbitrary and capricious, contrary to its own regulations, and must be set aside.

                   90.   As a result of the VA’s conduct, PCC has suffered and will continue to

suffer irreparable injury.

                                 SECOND CLAIM FOR RELIEF

  Administrative Procedure Act - Unconstitutional Action Under the Due Process Clause

                                      (Against all Defendants)

                   91.   PCC realleges and incorporates the above paragraphs.

                   92.   Under the Due Process Clause of the Fifth Amendment, the government

may not deprive PCC of a protected property or liberty interest without due process of law.




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                   93.   PCC has a constitutionally protected property interest in Post-9/11

G.I. Bill funding that it has already received and has properly spent on tuition for aviation

training, and on housing and book allowances for its veteran students.

                   94.   The VA has also improperly referred approximately $6 million in alleged

tuition overpayments to the Treasury, and inaccurately certified that the alleged debt was “legally

enforceable” in accordance with 31 C.F.R. § 285.12(i). The VA also failed to provide the

required notices to PCC as alleged above, including failing to provide the proper notice to PCC

that an offset would be occurring.

                   95.   As a result, the Treasury has improperly offset over $1.8 million from

PCC’s COVID-19 relief funds.

                   96.   PCC has a constitutionally protected property interest in its tax refunds

and other properly allocated federal funding that the Treasury may seek to garnish.

                   97.   The process by which the VA concluded that PCC owes approximately

$6 million (or any amount) in tuition, and housing and book allowance overpayments is

unconstitutional because it did not afford PCC with the due process required by the Fifth

Amendment to the United States Constitution. The VA did not provide PCC with any evidentiary

hearing or access to an agency appellate review. If PCC had access to procedures to trigger a

review, some responsible person or panel would have evaluated PCC’s file and reached the only

reasonable conclusion: that the VA’s findings are inaccurate and must be set aside. Requiring the

VA to give PCC additional procedural safeguards would not impose additional fiscal or

administrative burdens on the VA. PCC simply seeks the procedures that the VA promulgated

itself and is obligated to provide. See 38 C.F.R. § 21.4009.




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                   98.    As a result of the VA’s and the Treasury’s conduct, PCC has suffered and

will continue to suffer irreparable injury.

                                   THIRD CLAIM FOR RELIEF

            Administrative Procedure Act - Re Findings of the March 2018 Report

                              (Against the VA and Denis McDonough)

                   99.    PCC realleges and incorporates the above paragraphs.

                   100.   The APA, 5 U.S.C. § 706(2)(A), authorizes this court to set aside and hold

unlawful agency action that is arbitrary and capricious.

                   101.   Here, the VA’s letters fail to provide an adequate explanation for the VA’s

findings. Further, the explanations set forth in the 2018 March Report, are likewise inadequate.

An agency’s findings must be accompanied by an adequate explanation, see FEC v. Rose,

806 F.2d at 1088, “including a ‘rational connection between the facts found and the choice

made,’” Motor Vehicle Mfrs. Ass ‘n of US., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29,

43 (1983). The agency must be able to provide the “essential facts upon which the administrative

decision was based” and explain what justifies the determination with actual evidence beyond a

“conclusory statement.” United States v. Dierckman, 201 F.3d 915, 926 (7th Cir. 2000) (quoting

Bagdonas v. Dep’t of the Treasury, 93 F.3d 422, 426 (7th Cir. 1996)).

                   102.   PCC has already rebutted all of the findings in the VA’s letters, and the

VA’s overpayment notices fail to meet the required standard. Thus, the VA’s ultimate

determination that PCC owes approximately $6 million (or any amount) in overpayments must

be set aside. See 5 U.S.C. § 706(2)(A).




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                                  FOURTH CLAIM FOR RELIEF

             Promissory Estoppel – Promise to Suspend Collection of Alleged Debts

                              (Against the VA and Denis McDonough)

                   103.   PCC realleges and incorporates the above paragraphs.

                   104.   In its letter dated January 19, 2021, the VA clearly and unambiguously

promised PCC that the VA had “suspended all collection action on debts owed by Portland

Community College due to the compliance survey,” and that the collection action “will remain

suspended” pending further guidance. See Exhibit 2.

                   105.   PCC reasonably relied upon the VA’s promise to suspend collection of the

alleged debt and forebear filing suit against the VA and the Treasury, which would have

re-categorized the alleged debt as “in litigation,” and disallowed any collection of the alleged

debts under 31 U.S.C. § 3711(g)(2)(A)(i) and 38 C.F.R. § 1.910(b)(1).

                   106.   But for PCC’s reliance on the VA’s promise, PCC would have filed suit in

January 2021 to prevent the VA from referring the alleged debts to the Treasury, and stopped the

Treasury from offsetting over $1.8 million from PCC’s federal grant funds.

                   107.   The VA expected or should have expected PCC to rely upon the VA’s

promise to suspend collection of the alleged debts.

                   108.   As a result of PCC’s reliance on the VA’s promise, PCC has been

damaged in an amount of no less than the over $1.8 million that the Treasury offset from PCC, as

well as the balance of the alleged debt that is currently in danger of being offset by the Treasury.




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                                   FIFTH CLAIM FOR RELIEF

                   Promissory Estoppel – Approval of PCC’s Aviation Programs

                              (Against the VA and Denis McDonough)

                   109.   PCC realleges and incorporates the above paragraphs.

                   110.   At all times relevant, and from 2014 to April 27, 2017, both the Oregon’s

SAA and the VA approved the PCC Aviation Programs.

                   111.   PCC reasonably relied upon the Oregon’s SAA and the VA’s approval of

the PCC Aviation Program when it certified and enrolled new veteran students into the PCC

Aviation Program and those veterans received Post-9/11 G.I. Bill funding.

                   112.   The VA expected or should have expected PCC to rely upon the VA’s

approval of the PCC Aviation Program.

                   113.   Despite approving the PCC Aviation Program, the VA is now arguing that

the PCC Aviation Program should not have been approved to receive Post-9/11 G.I. Bill funding,

and the VA is attempting to recoup the Post-9/11 G.I. Bill funding for those veteran students who

were enrolled in the PCC Aviation Program.

                   114.   As a result of PCC’s reliance on the VA’s approval of the PCC Aviation

Program, PCC has been damaged in an amount of approximately $6 million, the amount the VA

is now claiming that PCC was overpaid in Post-9/11 G.I. Bill funding.

                                   SIXTH CLAIM FOR RELIEF

                                         Breach of Contract

                              (Against the VA and Denis McDonough)

                   115.   PCC realleges and incorporates the above paragraphs.




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                   116.   In its letter dated January 19, 2021, the VA clearly and unambiguously

expressly agreed that it had “suspended all collection action on debts owed by Portland

Community College due to the compliance survey,” and that the collection action would “remain

suspended” pending further guidance. See Exhibit 2.

                   117.   In consideration for and in reliance on the VA’s agreement that it would

suspend all collection action on the alleged debts, PCC did not file suit against and the VA and

the Treasury, which would have re-categorized the alleged debt as “in litigation,” and disallowed

any collection of the alleged debts under 31 U.S.C. § 3711(g)(2)(A)(i) and

38 C.F.R. § 1.910(b)(1).

                   118.   The VA breached the agreement by transferring the alleged debt to the

Treasury resulting in the offset of over $1.8 million from PCC’s federal grant funds.

                   119.   But for PCC’s reliance on the VA’s promise, PCC would have filed suit in

January 2021 to prevent the VA from referring the alleged debts to the Treasury, and stopped the

Treasury from offsetting over $1.8 million from PCC’s federal grant funds.

                   120.   As a result of the breach of the VA’s promise, PCC has been damaged in

an amount of no less than the over $1.8 million that the Treasury offset from PCC, as well as the

balance of the alleged debt that is currently in danger of being offset by the Treasury.

                                 SEVENTH CLAIM FOR RELIEF

           Injunction to Cease Debt Collection Activity and Return of Offset Funds

        (Against the Treasury, Janet Yellen, the Fiscal Service, and Timothy Gribben)

                   121.   PCC realleges and incorporates the above paragraphs.




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                   122.   By failing to administer the School Liability Process with respect to all

alleged overpayments for tuition as well as housing and book allowances, the VA deprived PCC

of its constitutionally protected interest in Post-9/11 G.I. Bill funding that PCC had received and

properly spent on tuition for aviation training, and housing and book allowances for PCC’s

veteran students.

                   123.   As a direct result of that due-process violation, the VA improperly referred

approximately $6 million in alleged tuition overpayments to the Treasury and inaccurately

certified that the alleged debt was “legally enforceable” in accordance with

31 C.F.R. § 285.12(i). The VA and the Treasury also failed to provide the required notices to

PCC as alleged above, including failing to provide the proper notice to PCC that an offset would

be occurring.

                   124.   Due to the VA’s improper referral of the alleged debt to the Treasury, the

Treasury offset over $1.8 million from funds that PCC was entitled to receive under the

American Rescue Plan.

                   125.   In accordance with the American Rescue Plan requirements, PCC had

planned to provide—and its students were relying on—the over $1.8 million in emergency

financial aid grants that the Treasury has withheld from PCC students.

                   126.   As a result of the Treasury’s over $1.8 million offset, PCC will suffer

immediate and irreparable injury because many PCC students relying upon the grant’s

emergency financial aid funds will be unable to continue their education at PCC without that

critical financial assistance.




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                   127.   Given that PCC’s students’ education is in immediate jeopardy, PCC

seeks a court order requiring the speedy release of the over $1.8 million American Rescue Plan

funds that have been improperly withheld by the Treasury.

                   128.   PCC also seek injunctive relief to stop the Treasury from taking any

further debt collection action, including without limitation the offset of grant funds that PCC is

otherwise entitled to because the alleged debt is now “in litigation.”

See 31 U.S.C. § 3711(g)(2)(A)(i) and 38 C.F.R. § 1.910(b)(1).

                                          PRAYER FOR RELIEF

                   WHEREFORE, Plaintiff requests that this Court:

                   1.     Order the VA to provide PCC with its due process rights under the School

                          Liability Process with respect to all alleged overpayments—for tuition, as

                          well as housing and book allowances—and enjoin Defendants, and their

                          successors and agents, from collecting the alleged approximately

                          $6 million (or any amount) in overpayments until the VA has met its due

                          process obligations to PCC;

                   2.     Declare that the VA breached its agreement with PCC to not collect the

                          alleged debts;

                   3.     Declare that Defendants’ conclusion that PCC owes approximately

                          $6 million (or any amount) in overpayments related to its aviation

                          programs was arbitrary and capricious, and in violation of PCC’s right to

                          due process of law under the Fifth Amendment to the United States

                          Constitution;




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                   4.    Order the Treasury and the VA to immediate return over $1.8 million

                         offset from PCC’s American Rescue Plan grant;

                   5.    An award of pre-judgment and post-judgment interest;

                   6.    Order the DMC and the Treasury to halt any further collection or offset

                         efforts of PCC’s alleged debt;

                   7.    For an award of fees, costs, and attorney fees; and

                   8.    Such other and further relief as this Court may deem just and proper.

                   DATED this 15th day of November, 2021.

                                                      MILLER NASH LLP

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